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                                  STATEMENT OF FACTS
        Your affiant, Kelsey Randall, is a Special Agent with the Federal Bureau of Investigation
(FBI). I am assigned to the FBI Joint Terrorism Task Force. Currently, I am tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a
Federal law enforcement officer, I am authorized by law or by a Government agency to engage
in or supervise the prevention, detention, investigation, or prosecution of violations of Federal
criminal laws.
        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around
the U.S. Capitol include permanent and temporary security barriers and posts manned by U.S.
Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also
closed to members of the public.
       On January 6, 2021, a joint session of the U.S. Congress convened at the U.S. Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the U.S. House of Representatives and the U.S. Senate were meeting in separate
chambers of the U.S. Capitol to certify the vote count of the Electoral College of the 2020
Presidential Elections, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.
        As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.
        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including
by breaking windows and by assaulting members of the U.S. Capitol Police, as others in the
crowd encouraged and assisted those acts.
       Shortly thereafter, at approximately 2:20 p.m., members of the U.S. House of
Representatives and the U.S. Senate, including the President of the Senate, Vice President Mike
Pence, were instructed to-and did-evacuate the chambers. Accordingly, the joint session of the
U.S. Congress was effectively suspended until shortly after 8:00 p.m. Vice President Pence
remained in the U.S. Capitol from the time he was evacuated from the Senate Chamber until the
sessions resumed.
       Following the events on January 6, 2021, the FBI received a tip from an individual who
reported that Erik Herrera (HERRERA) was involved in the events at the U.S. Capitol on
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January 6, 2021. The individual submitted a screen capture of Instagram user “duvalinpapi,” who
posted a photograph of somebody holding papers inside an office within the U.S. Capitol. The
caption of the post read, “I’m reclaiming Aztlan because I love America. Querer es poder!
#washingtondc #washington #chicanohistory #mexicanamerican”. Based on additional
information discussed below (including HERRERA’s admission), it was established that the
Instagram post was a picture of HERRERA in the U.S. Capitol.




        On March 19, 2021, a federal search warrant was served on Facebook authorizing the
search of Instagram account “duvalinpapi”. Instagram records show the subscriber of Instagram
account “duvalinpapi” has a first name of Erik, a registered email address of
erik.herrera@icloud.com, and telephone number of ending in -1168. 1 The profile bio for the
“duvalinpapi” account includes a link to HERRERA’s website (erikherreraphoto.com).
Additionally, the data provided by Facebook included a direct message conversation that
occurred on January 7, 2021 between HERRERA and Instagram user 255412652. In that
conversation, HERRERA stated that he was in Washington, D.C. “for both photojournalism and
our people.”
       In additional messages sent by HERRERA on Facebook, he indicates his dissatisfaction
with the results of the election:




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  Facebook provided the full email address and the full phone number; however, due to the public nature of the
filing, the information included herein has been partially redacted.
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On January 9, 2021, HERRERA and Instagram user 255412652 continued their conversation.
Instagram user 255412652 asked, “What was going through your mind when you entered the
capitol?” and HERRERA responded “I can’t believe this is fuckn happening”.
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       Additionally, Instagram user 255412652 asked, “What was going through your mind
while holding what appeared to be a stack of government documents?” to which “duvalinpapi”
responded, “I wasn’t thinking much, I just wanted a goofy ‘fuck you’ picture.”




FBI Agents reviewed video surveillance from the U.S. Capitol building from January 6, 2021.
Based on the Instagram screen capture provided by the tipster, Agents were able to identify
HERRERA captured on multiple cameras inside the U.S. Capitol Building.
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        HERRERA is a photographer, but I have found no evidence that he is the member of the
news media or that he has published his photographs in any news outlet. I am aware that
Instagram user 255412652 asked “What did wearing your Press pass provide you?” Apparently,
this comment referred to a “press” patch that HERRERA was wearing on his body armor while
in the U.S. Capitol. In my experience, a press credential is not a patch. In any event, HERRERA
admitted that he was in Washington, D.C. for reasons other than photojournalism.
       Although HERRERA self-identifies as a photographer and posts photos to his Instagram
feed and website, the government has found no instance where a photo taken by HERRERA has
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been published to any other news outlet. On January 7, 2021, HERRERA admitted on social
media that the press patch he used on January 6 had not been issued by a good faith media
organization when he posted, “I don’t have a monopoly on press badges. They’re on Amazon
for like $8 … No special permission to buy.”
         Based on the foregoing, your affiant submits that there is probable cause to believe that
HERRERA violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do so; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes for Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President of other person
protected by the Secret Service, including the Vice President, is or will be temporarily visiting;
or any building or grounds so restricted in conjunction with an event designated as a special
event of national significance.
        Your affiant submits there is also probable cause to believe that HERRERA violated 40
U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in the building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


       Your affiant submits there is also probable cause to believe that HERRERA violated 18
U.S.C. § 1512(c)(2), which makes it a crime to corruptly obstruct, influence, or impede an official
proceeding, and to attempt to do so. A proceeding before Congress is an “official proceeding” for
purposes of 18 U.S.C. § 1512(c)(2) as defined in 18 U.S.C. § 1515(a)(1)(B).


                                      __________________________________________
                                      KELSEY RANDALL
                                      Special Agent
                                      Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 6th day of August, 2021.
                                                        Digitally signed by G.
                                                        Michael Harvey
                                                        Date: 2021.08.06
                                      _____________________________________________
                                                        14:29:08 -04'00'
                                      G. Michael Harvey, U.S. Magistrate Judge
